           Case 1:11-cv-05831-AJN     Document 118   Filed 09/04/13   Page 1 of 3
                                                     USDCSDNY
                                                     DOCUMENT
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                          _
                                                     ELECTRONICALLY FILED
                                                     DOC"! ........- - - - - -
                                                     DATEFlLED~I=P    n 11 I')n~1}J
------------------------------x
BHUSHAN ATHALE, et aI., Individually and    Civil Action No.1: ll-cv-05831-AJN
on Behalf of All Others Similarly Situated, (Consolidated)

                            Plaintiffs,         CLASS ACTION

           vs.                                  [f~eli@€ij~ ORDER AWARDING
                                                ATTORNEYS' FEES AND EXPENSES
SINOTECH ENERGY LIMITED, et aI.,

                            Defendants.
                                            x
------------------------------




865505 I
           Case 1:11-cv-05831-AJN        Document 118         Filed 09/04/13      Page 2 of 3



           This matter having come before the Court on August 29, 2013, on the motion of Lead

Plaintiff's counsel for an award of attorneys' fees and expenses in the litigation, the Court, having

considered all papers filed and proceedings conducted herein, having found the settlement of this

Action to be fair, reasonable and adequate, and otherwise being fully informed in the premises and

good cause appearing therefore;

           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

           1.    This Order incorporates by reference the definitions in the Settlement Agreement

dated March 22, 2013 (the "Stipulation") and all capitalized tenns used, but not defined herein, shall

have the same meanings as set forth in the Stipulation.

           2.    This Court has jurisdiction over the subject matter ofthis application and all matters

relating thereto, including all members of the Class who have not timely and validly requested

exclusion.
                                                                              ~
           3.    The Court hereby awards Lead Counsel attorneys' fees of~ of the Settlement

Fund, plus expenses in the amount of$55,454.63, together with the interest earned on both amounts

for the same time period and at the same rate as that earned on the Settlement Fund until paid. The

Court finds that the amount of fees awarded is appropriate and that the amount of fees awarded is

fair and reasonable under the "percentage-of-recovery" method.

           4.    The fees and expenses shall be allocated among Plaintiffs' Counsel in a manner

which, in Lead Counsel's good-faith judgment, reflects each such counsel's contribution to the

institution, prosecution, and resolution of the litigation.

           5.    The awarded attorneys' fees and expenses and interest earned thereon, shall

immediately be paid to Lead Counsel subject to the tenns, conditions, and obligations of the




                                                    - 1-
865505 I
           Case 1:11-cv-05831-AJN       Document 118         Filed 09/04/13      Page 3 of 3



Stipulation, and in particular ~7.2 thereof, which tenns, conditions, and obligations are incorporated

herein.

           6.   The Court has considered the objection to the fee award filed by Class Member Mark
                  ~~~~~~~ CGv.f"tl~ ~~                                             ~ .
S. Litwin, a


           IT IS SO ORDERED.


DATED: _ _
                                                            I""1L>L..LJALISON J. NATHAN
                                                            TES DISTRICT JUDGE




                                                  -2-
865505 I
